                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA                              )
                                                       )
                                                       )       No. 3:06-CR-136
 V.                                                    )       (PHILLIPS/SHIRLEY)
                                                       )
                                                       )
 DWIGHT BRIGHT                                         )


                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This matter came before the court on a Petition for Action on

 Conditions of Pretrial Release [Doc. 75] on December 6, 2006. W. Brownlow Marsh, Assistant

 United States Attorney, was present representing the government. Stephen Burroughs was present

 representing the defendant, who was also present.

                The defendant was released pursuant to an Order Setting Conditions of Release on

 November 22, 2006. [Doc. 66]. Condition 2 of defendant’s release stated, “[D]efendant shall

 immediately advise the court, defense counsel and the U.S. attorney in writing before any change

 in address and telephone number.” Condition 6 placed the defendant in the third-party custody of

 his mother, Margaret Booher (“Booher”), residing at 701 Nelson Street, Philadelphia, Tennessee.

 Condition 7(t) restricted the defendant to the Booher residence except for limited purposes,

 including employment, meetings with counsel, and court obligations.

                A Petition for Action on Conditions of Pretrial Release [Doc. 75] was filed by

 Defendant’s pretrial services officer on December 1, 2006, stating the defendant had violated several

 conditions of release. The pretrial services officer asserted the defendant violated Conditions 2 and



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 6 by informing Booher he was moving out of her residence and going home. Booher phoned in the

 violation, confirming the defendant moved out of the mandated residence without permission. The

 pretrial services officer further asserted the defendant violated Condition 7(j) by approaching the

 Sheriff of Monroe County to lodge a verbal complaint against Detective Morgan and Condition

 7(t)(ii) by leaving the mandated home confinement residence on the night of November 30, 2006,

 and not returning.

                At the 18 U.S.C. § 3148 hearing on December 5, 2006, Stephen Burroughs, counsel

 for the defendant, proffered extenuating circumstances existed which required Defendant to change

 his address; the defendant’s employer had suffered a heart attack and desired for the defendant to

 be close by, to live on the employer’s premises, to help him. The defendant, through counsel, also

 stated that he neither approached the Sheriff of Monroe County, nor lodged a verbal complaint

 against Detective Morgan. To determine the merits of the competing claims, this Court continued

 the hearing to December 6, 2006, so as to allow the parties adequate time to obtain witness

 testimony. [Doc. 77]. Defendant remained in custody pending the hearing.

                On December 6, 2006, this court heard the witnesses’ testimonies and the attorneys’

 oral arguments. The Court held that Defendant violated the terms of his release under 18 U.S. Code

 § 3142, allowing the judge to issue a warrant for the defendant’s arrest. 18 U.S. Code § 3148 (b).

 Subsection (b) also allows the judge to enter an order of revocation and detention, if certain criteria

 are met. If the government shows, by clear and convincing evidence, that the defendant violated any

 condition of his release, and the Court finds there are no conditions or combinations of conditions

 that would assure the defendant will not flee or pose a danger to the safety of any other person or

 the community, or that the defendant is unlikely to abide by any condition or conditions of his


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 release, then the judge may revoke the defendant’s pretrial release. 18 U.S. Code § 3148 (b).

                In the instant matter, condition 7(j) admonished the defendant to avoid any contact,

 direct or indirect, with the entire Monroe County Sheriff’s Department and/or Detective Morgan.

 Sheriff Bivens testified that Defendant met with him to discuss a relative’s death and to complain

 about Detective Morgan. The Court found Sheriff Bivens’s testimony to be credible, and found

 Defendant intentionally violated condition 7(j).

                Furthermore, this Court found that Defendant violated the conditions requiring the

 defendant to advise the Court before he changed his address, to stay in residence at his mother’s

 house in her custody, and to participate in home confinement. Each of these conditions was violated

 when Defendant moved out of his mother’s house without any prior notice to the Court and without

 permission. As this Court found that Defendant planned and committed two violations within a

 forty-eight hour time period with no concern for the Court’s ordered conditions, the Court found

 Defendant to be a danger and a risk.

                Defendant presented the possibility of a new third party custodian, Mr. Hodge. The

 Court did not find Mr. Hodge to be a suitable third party custodian, as he lives a half mile away from

 where the defendant would be residing and is in ill health.

                For the reasons stated therein, the Court found, pursuant to 18 U.S.C. § 3148, clear

 and convincing evidence that the defendant violated his conditions of release. The Court also finds

 there are no conditions or combination of conditions of release which will assure that the defendant

 will neither flee nor pose a danger to the safety of another person. Further, the Court finds the

 defendant is unlikely to abide by any conditions or combination of conditions of release. Therefore,

 the order setting conditions of release is hereby REVOKED and the defendant is remanded to the


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 custody of the United States Marshal pending his trial on April 2, 2007, at 9:00 a.m., before the

 Honorable Thomas W. Phillips, United States District Judge. The previous Order Setting

 Conditions of Release [Doc. 66] is hereby CANCELLED.

               IT IS SO ORDERED.

                                             ENTER:


                                               s/ C. Clifford Shirley, Jr.
                                             United States Magistrate Judge




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